      Case 1:20-cv-01607-GTS-TWD Document 14 Filed 11/02/21 Page 1 of 1




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
____________________________________________

UNITED STATES OF AMERICA,

                                Plaintiff,
                                                             1:20-CV-1607
v.                                                           (GTS/TWD)

$179,710 in U.S. CURRENCY,

                        Defendant.
____________________________________________

                               FINAL ORDER OF FORFEITURE

        Upon consideration of the United States’ Motion for Default Judgement and Final Order
of Forfeiture pursuant to Rule 55(b)(2) of the Federal Rules of Civil Procedure and General
Order #15 of this Court, it is hereby ORDERED that the Motion is hereby GRANTED, and it is
further
          ORDERED that Judgment of Default be entered against the defendant currency, and it is
further
          ORDERED that the defendant currency is hereby forfeited to the United States, and it is
further
          ORDERED that any claims to the defendant currency are hereby forever barred.
          IT IS SO ORDERED.


Dated: November 1, 2021
